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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 IN RE APPLICATION OF THE NEW
                                                   No. 1:21-mc-91 (JEB)
 YORK TIMES COMPANY FOR
 ACCESS TO CERTAIN SEALED
 COURT RECORDS




                           PROPOSED ORDER (Attachment D)

       Upon consideration of the Government’s Response to this Court’s October 28, 2021 Order,

       IT IS HEREBY ORDERED that Attachments A, B and C to the Government’s Response

be filed under seal.

       THIS            DAY OF                            , 2021.




                                           HON. JAMES E. BOASBERG
                                           DISTRICT COURT JUDGE
